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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )              CASE NO. 8:08CR122
                                           )
             Plaintiff,                    )
                                           )
             vs.                           )                    ORDER
                                           )
SILVIA VENZOR-ESTRADA,                     )
                                           )
             Defendant.                    )

      This matter is before the Court on the government’s oral motion to dismiss the

Indictment as against the Defendant, Silvia Venzor-Estrada.

      IT IS ORDERED:

      1.     The government’s oral motion is granted; and

      2.     The Indictment is dismissed as against the Defendant, Silvia Venzor-

             Estrada.

      DATED this 25th day of August, 2008.

                                               BY THE COURT:


                                               s/Laurie Smith Camp
                                               United States District Judge
